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                      IN THE UNITED STATED DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC           §
                                     §
      Plaintiff,                     §              Case No: 2:16-cv-0450-JRG
                                     §
vs.                                  §              LEAD CASE
                                     §
CITIBANK, NA                         §
                                     §
        Defendant.                   §
  __________________________________ §
SYMBOLOGY INNOVATIONS, LLC           §
                                     §
      Plaintiff,                     §              Case No: 2:16-cv-0599-JRG
                                     §
vs.                                  §              CONSOLIDATED CASE
                                     §
KWIKSET CORPORATION                  §
                                     §
        Defendant.                   §
  __________________________________ §

                               JOINT MOTION TO DISMISS

      Under Federal Rule of Civil Procedure 41(a), Symbology Innovations, LLC (“SI”) and

 Spectrum Brands, Inc. (that now wholly owns Kwikset Corporation, the entity originally

 named in this action) (“Spectrum/Kwikset”) move to dismiss SI’s claims against

 Spectrum/Kwikset with prejudice, and Spectrum/Kwikset’s claims against SI without

 prejudice, with each party bearing its own attorneys’ fees and costs.
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 Dated: March 8, 2017                               Respectfully submitted,


 /s/ Jay Johnson                                      /s/ Allen F. Gardner
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 ATTORNEYS FOR PLAINTIFF
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 LLC



                               CERTIFICATE OF SERVICE

      The undersigned hereby certifies that all counsel of record who are deemed to have
 consented to electronic service are being served with a copy of this document via the Court’s
 CM/ECF system per Local Rule CV-5(a)(3) on March 8, 2017.

                                                   /s/ Jay Johnson
                                                    Jay Johnson
